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FILED IN OPEN COURT
U.S.D.C. - Atlanta

IN THE UNITED STATES DISTRICT COURT KEVING _weimets
FOR THE NORTHERN DISTRICT OF GEORGIA’ & i
ATLANTA DIVISION \

MILDRED COLLINS-WILLIAMS as
administrator of the estate of TIJUANA
FRAZIER and as guardian and next CIVIL ACTION FILE
friend of QUANISHA HOLT, and
PEBBLES MCCLAIN as guardian and
next friend of Julian Frazier and Isaiah
Frazier,

No. 1:20-cv-03129-SC]

Plaintiffs,

CONTOUR EASTWYCK, LLC,

Defendant.

VERDICT FORM

1. Do you find that Tijuana Frazier experienced conscious pain and suffering
on Appl 6, 2019 prior to her death?
Yes. No.
If yes, proceed to question no. 2. If no, proceed to question no. 3.

Ne

2. We, the jury, find in favor of Plaintiff Mildred Collins-Williams as Executor
of the Estate of Tijuana Frazier and against Defendant Contour Eastwyck,
LLC in the amount of 41)°°".0°° __ compensatory damages to the Estate
of Tijuana Frazier for conscious pain and suffering, if applicable.

3. We, the jury, find in favor of Plaintiffs and against Defendant Contour
Eastwyck, LLC in the amount of 4 ¥5%; 54% in compensatory
damages for the full value of the life of Tijuana Frazier.

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This 2°" day of March, 2024.

: is
Foreperson

Printed Name of Foreperson

